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                       UNITED STATES DISTRICT COURT
                          DISTRICT OF MINNESOTA
________________________________________________________________________

RG Golf Warehouse, Inc.,                        Court File No. 19-CV-0585 (WMW/DTS)


              Plaintiff,
       vs.

The Golf Warehouse, LLC,

              Defendant.

______________________________________________________________________________

                           DECLARATION OF BRYAN R. BATTINA
______________________________________________________________________________

      I, Bryan R. Battina, submit the following Declaration:

      1.     I am a shareholder with Trepanier MacGillis Battina P.A., and an attorney

for the Plaintiff RG Golf Warehouse, Inc.

      2.     Attached hereto as Exhibit A is clean version of Plaintiff’s proposed

amended complaint.

      3.     Attached hereto as Exhibit B is redline version of Plaintiff’s proposed

amended complaint.

      4.     The amended complaint eliminates the claims dismissed by Judge Wright

and proposes to add a claim for tortious interference with contract.

      5.     Attached hereto as Exhibit C is a true and correct copy of the Declaration

of Jamey Maki which was filed in the Florida action.



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       I declare under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.


Dated: January 23, 2020.                  s/Bryan R. Battina
                                   By: ________________________________
                                          Bryan R. Battina, Atty. Reg. No. 338102




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